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                                                   2
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                                                       Trendmood, Inc.
                                                   9
                                                                            UNITED STATES DISTRICT COURT
                                                  10
                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                  11
                                                        Trendmood, Inc., a California         Civil Case No. CV-20-10877-MCS(RAOx)
                 Solana Beach, California 92075
                 380 Stevens Avenue, Suite 311




                                                  12
                                                        corporation,
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                                                  13
                        (888) 846-8901




                                                                    Plaintiff,
                                                  14                                          FIRST AMENDED COMPLAINT FOR
                                                              v.                              DAMAGES AND INJUNCTIVE
                                                  15                                          RELIEF
                                                        Samantha Rabinowitz, an individual;
                                                  16    and DOES 1-10, inclusive,
                                                  17
                                                                    Defendants.
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                                                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1        Plaintiff, Trendmood, Inc. (referred to interchangeably as "Trendmood" or
                                                   2 "Plaintiff") brings this action against Samantha Rabinowitz ("Rabinowitz" or

                                                   3 "Defendant"), and states as follows:

                                                   4        I.     STATEMENT OF THE CASE/NATURE OF ACTION
                                                   5        1.     This case involves escalating behavior over time by Rabinowitz which
                                                   6 has devolved from exercise of her alleged free speech to statements likely

                                                   7 constituting trade libel, to now full-blown libelous statements causing economic

                                                   8 damage and reputational harm to Trendmood.

                                                   9        2.     Trendmood's Chief Marketing Officer, Ms. Sophie Shab ("Shab"),
                                                  10 founded the Trendmood brand in or around 2012. Trendmood's primary business

                                                  11 operation has been as an internet influencer in the health, beauty, and cosmetics
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                                                  12 industries. Trendmood delivers most of its marketing content through its social
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                                                  13 media accounts through platforms such as Instagram and Twitter which have been
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                                                  14 characterized as a viral sensation. Since its inception, through Shab's beauty

                                                  15 detective work, Trendmood has routinely been the leader in breaking news of beauty

                                                  16 collections in or around their release, often before more traditional media outlets

                                                  17 have heard a launch is coming. However, unlike most other internet beauty

                                                  18 influencers the focus of Trendmood has not been Shab herself but rather the

                                                  19 products which it promotes. Trendmood's focus has been geared towards product

                                                  20 information that a health, beauty, and cosmetics consumer primarily will use

                                                  21 (including Shab) to make informed choices on such purchases. The success of

                                                  22 Trendmood has been meteoric and has resulted in beauty supply and media

                                                  23 partnerships with Milani and Walgreens.

                                                  24        3.     Beginning in 2016, and intermittently to early 2020, Rabinowitz has
                                                  25 relentlessly been a critic of both Shab and Trendmood from her perch as an online

                                                  26 gossiper. Most of that criticism has centered around her opinions of Trendmood's

                                                  27 and Shab's business practices and beauty opinions. Trendmood and Shab generally

                                                  28 considered Rabinowitz's opinions to be merely poor taste, based on incomplete

                                                                                                2
                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1 information, borne from jealousy at Trendmood's and Shab's success and not worthy

                                                   2 of rebuttal. However, this changed this past summer when Rabinowitz transitioned

                                                   3 from an internet gossiper to an aspiring competitor to Trendmood. At that point

                                                   4 Rabinowitz's attacks became much more frequent, personal, and without foundation,

                                                   5 eventually comprising out and out falsities.

                                                   6          4.     Rabinowitz's recent attacks have been levied against Shab personally
                                                   7 characterizing her as either a racist or consorting with racists and waging false

                                                   8 claims about Trendmood, vis-à-vis Shab, allegedly committing crimes against

                                                   9 Rabinowitz as further described below in an effort to incite third persons, i.e., Shab
                                                  10 and Trendmood making Rabinowitz the subject of a doxxing 1 campaign.

                                                  11 Rabinowitz's actions and false statements have resulted in financial losses and
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                                                  12 reputational harm to Trendmood. Despite Trendmood's request for Rabinowitz to
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                                                  13 voluntarily cease and desist her actionable behavior all such requests been
                        (888) 846-8901




                                                  14 dismissed.

                                                  15          II.    PARTIES AND JURISDICTION
                                                  16          5.     At all times material to this action, Plaintiff Trendmood, Inc. is and was
                                                  17 a corporation organized under the laws of the State of California, with its principal

                                                  18 place of business in Los Angeles, California.

                                                  19          6.     At all times material to this action, Defendant Samantha Rabinowitz is
                                                  20 and has been a resident of the country of Canada, province of Ontario.

                                                  21          7.     This Court has jurisdiction under 28 U.S.C. § 1332(a) which provides
                                                  22 that a district court “has original jurisdiction of a civil actions where the matter in

                                                  23

                                                  24

                                                  25
                                                       1
                                                       Doxing, or doxxing, is the Internet-based practice of researching and publicly broadcasting private
                                                  26 or identifying information about an individual or organization. The methods employed to acquire
                                                     this information include searching publicly available databases and social media websites, hacking,
                                                  27 and social engineering. Doxing can refer to a broad array of conduct, but is in essence publishing

                                                  28 private information about a person, such as home address, employment location, cell phone
                                                     numbers, etc., usually out of a sense of revenge or social justice.
                                                                                                       3
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                                                   1 controversy exceeds the sum of $75,000…and is between… citizens of a State

                                                   2 and citizens or subjects of a foreign country…”

                                                   3        8.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391
                                                   4 because a substantial part of the events and/or omissions giving rise to this action

                                                   5 occurred in this District.

                                                   6        III.   BACKGROUND FACTS AND ALLEGATIONS
                                                   7        9.     For the past decade, Trendmood (and Shab) spent a great deal of
                                                   8 resources, including, time and money, in promoting itself as a leader in the health,

                                                   9 beauty, and cosmetic industries to become a social media influencer related to those
                                                  10 industries. The popularity of a social media influencer may be determined by how

                                                  11 many persons are interested in the influencer's activities and thoughts. Over the last
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                                                  12 fifteen years or so “social networking” or “social media” applications and websites
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                                                  13 have been one of the go-to indicators of the level of popularity and public interest in
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                                                  14 persons and subject matters.

                                                  15        10.    Twitter is a social networking or social media service where users can
                                                  16 publish or post messages and statements in order to interact with other users. The

                                                  17 messages are called “tweets”. Registered users can publish or post messages and

                                                  18 statements, but non-registered users can only read them. Unless the registered users

                                                  19 change the default setting, tweets can be read by any person who can access

                                                  20 twitter.com. That is to say Twitter is not an application that is meant to make the

                                                  21 user's messages more private. In the instant case the defendant had, and has, her

                                                  22 Twitter messages, i.e., tweets, retweets, replies, and likes, accessible and displayed

                                                  23 to any person who can access Twitter.

                                                  24        11.    Twitter also permits account holders to “follow” each other so that each
                                                  25 user can be directly notified of posts made by other accountholders. Twitter

                                                  26 explains what a “Like” is in its “Help Center” webpage, “Likes are represented by a

                                                  27 small heart and are used to show appreciation for a Tweet. You can view the Tweets

                                                  28 you've liked from your profile page by clicking or tapping into the Likes tab.”

                                                                                                4
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                                                   1        12.    Twitter explains what a “Retweet” is in its “Help Center” webpage, “A
                                                   2 Retweet is a re-posting of a Tweet. Twitter's Retweet feature helps you and others

                                                   3 quickly share that Tweet with all of your followers. You can Retweet your own

                                                   4 Tweets or Tweets from someone else. Sometimes people type ‘RT’ at the beginning

                                                   5 of a Tweet to indicate that they are re-posting someone else's content. This isn't an

                                                   6 official Twitter command or feature but signifies that they are quoting another

                                                   7 person's Tweet.” As such, resending messages to the public and other users are

                                                   8 made by the volitional act of the Twitter accountholder. Defendant's retweets were

                                                   9 made by the volitional act of the defendant.
                                                  10        13.    Generally, a hashtag, i.e., “#”, that is followed by specific characters
                                                  11 make content more discoverable on social media platforms and assist in engaging
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                                                  12 with other social media users based on a common theme or interest. Clicking on or
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                                                  13 searching any hashtag directs a user to every social media post using the same
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                                                  14 hashtag, whether Twitter, Instagram, Facebook, etc. Twitter explains what a hashtag

                                                  15 is in its “Help Center” webpage,

                                                  16        A hashtag—written with a # symbol—is used to index keywords or
                                                  17        topics on Twitter. This function was created on Twitter, and allows
                                                  18        people to easily follow topics they are interested in. Using hashtags to
                                                  19        categorize Tweets by keyword • People use the hashtag symbol (#)
                                                  20        before a relevant keyword or phrase in their Tweet to categorize those
                                                  21        Tweets and help them show more easily in Twitter search.
                                                  22        • Clicking or tapping on a hash tagged word in any message shows
                                                  23        you other Tweets that include that hashtag.
                                                  24        • Hashtags can be included anywhere in a Tweet.
                                                  25        • Hash tagged words that become very popular are often trending
                                                  26        topics.
                                                  27        14.    Instagram is another social networking or social media service that
                                                  28 allows users to upload videos and photos and uses hashtags to connect users in the

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                                                   1 same manner as Twitter. When one user wants to check on and routinely get

                                                   2 updates on another Instagram account holder, the user can “follow” another

                                                   3 Instagram user, much like Twitter.

                                                   4        15.    Instagram uses what it calls “stories” for Instagram accountholders to
                                                   5 connect with their followers more closely directly. Stories are posts of videos,

                                                   6 photos and statements made by the Instagram account holder that are made directly

                                                   7 available to the Instagram accountholder's followers and remain available for

                                                   8 twenty-four hours. After an item is posted to the accountholder's story, those

                                                   9 following are notified of the story post.
                                                  10        16.    And many times, these Instagram and Twitter posts/tweets, and
                                                  11 reposts/retweets are discussed on Reddit. Reddit is an American social news
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                                                  12 aggregation, web content rating, and discussion website. Registered members
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                                                  13 submit content to the site such as links, text posts, and images, which are then voted
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                                                  14 up or down by other members. Posts are organized by subject into user-created

                                                  15 boards called "subreddits", which cover a variety of topics such as news, politics,

                                                  16 science, movies, video games, music, books, sports, fitness, cooking, pets, and

                                                  17 image-sharing. Submissions with more up-votes appear towards the top of their

                                                  18 subreddit and, if they receive enough up-votes, ultimately on the site's front page.

                                                  19 Despite strict rules prohibiting harassment, Reddit's administrators spend

                                                  20 considerable resources on moderating the site.

                                                  21        17.    As stated above, Trendmood is one of the most recognized internet
                                                  22 influencers in the health, beauty, and cosmetics industries. Trendmood's Instagram

                                                  23 account has over one million followers. As a result of such following, health,

                                                  24 beauty, and cosmetics producers and distributors contract with Trendmood so that

                                                  25 Trendmood may promote their respective products directly through their internet

                                                  26 properties or as a referral partner to those companies directly.

                                                  27        18.    Specifically, Trendmood generates sales revenue by (a) placing links in
                                                  28 different media collateral it publishes which in turn earn commission revenue for

                                                                                                 6
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                                                   1 sales by its product partners generated through such links; (b) through affiliate

                                                   2 marketing partners who publish Trendmood's and its product partners' offerings

                                                   3 which includes a code designated to Trendmood for discounts on a purchase by a

                                                   4 Trendmood follower; and (c) directly selling its signature Trendmood Box where it

                                                   5 works with its brand partners for health, beauty and cosmetic products to curate

                                                   6 boxes with those partners' associated products. Needless to say, Trendmood's

                                                   7 publications to its followers of health, beauty, and cosmetics, which in turn derives

                                                   8 its follower base, are the genesis of its sales revenue and any disruption in that

                                                   9 follower base results in lost revenue.
                                                  10        19.    As aforementioned, from 2016 to early 2020 Rabinowitz has been an
                                                  11 online gossiper for various industries including inter alia the health, beauty, and
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                                                  12 cosmetics social media landscape. During that time Rabinowitz's prime marketing
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                                                  13 method has been to instigate controversy surrounding Trendmood and other
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                                                  14 competing social media influencers for the health, beauty, and cosmetics industries

                                                  15 and critically deride their actions looking for ways to minimize their opinions or

                                                  16 business methods as a way to gain a following. In short, Rabinowitz is ultra critical

                                                  17 of others in an effort to deprive them of goodwill i.e., convert a competitor's

                                                  18 follower base to her own.

                                                  19        20.    From approximately 2016 to early 2020 Rabinowitz consistently
                                                  20 waged a "gossip campaign" toward Trendmood but each time Rabinowitz's public

                                                  21 comments have been likely protected by free speech under the First Amendment of

                                                  22 the United Stated Constitution. Some examples of Rabinowitz's criticism of

                                                  23 Trendmood have been to question (a) Trendmood's rights to pre-release product

                                                  24 information related to its product partners' media campaign and product releases,

                                                  25 (b) the quality of its media campaigns related to particular products including

                                                  26 prohibited reproduction of its product partners' direct media collateral, and (c)

                                                  27 whether it is making false claims in its marketing collateral.

                                                  28

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                                                   1        21.   However, as further described below, Rabinowitz venom directed
                                                   2 toward Trendmood veered from opinion to outright falsities beginning in mid 2020

                                                   3 when she transitioned from gossiper to attempted social media influencer

                                                   4 competitor and has escalated to publicly accusing Trendmood of committing

                                                   5 actions amounting to a crime under California law against her in an effort to boost

                                                   6 her own brand and deprive Trendmood of its followers and thus its income.

                                                   7        22.   As to all of the Defendant's conduct above and below described,
                                                   8 specifically since Defendant has published her statements on social networking

                                                   9 sites, Trendmood has:
                                                  10              a.     Lost followers on its Twitter account of at least 2,000 followers
                                                  11 and is no longer getting 5,000 followers per month as Trendmood was prior to
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                                                  12 Defendant's statements;
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                                                  13              b.     Lost followers on its Instagram account at least 3,000 followers
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                                                  14 and is no longer getting 30,000 followers per month as Trendmood was prior to

                                                  15 Defendant's statements;

                                                  16              c.     Lost revenues from its product partners in the amount of $4,000
                                                  17 per month from reduced commissions from sales achieved through referrals to those

                                                  18 partners and affiliate marketing relationships; and

                                                  19              d.     Lost revenues from direct sales for Trendmood boxes in the
                                                  20 amount of $6,000 per month.

                                                  21        IV.   RABINOWITZ'S FALSE STATEMENTS
                                                  22        23.   In or around summer 2020, after Rabinowitz had started her own social
                                                  23 media influencer brand, Here for the Makeup ("HFTM"), and without provocation,

                                                  24 Rabinowitz ratcheted up her attacks on Trendmood and Shab. For years Rabinowitz

                                                  25 had gossiped openly about Trendmood to gain a following for her opinions, but

                                                  26 when she became a direct competitor deriding Trendmood and converting its

                                                  27 followers to HFTM presented more incentive to magnify such efforts due to the far

                                                  28 greater revenue opportunity.

                                                                                                8
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                                                   1             24.       On or about August 15, 2020 Rabinowitz's attacks stopped being
                                                   2 centered around Trendmood and were of and concerning Shab personally.

                                                   3 Rabinowitz had previously criticized Trendmood about supporting a cosmetics

                                                   4 product manufacturer who Rabinowitz considered socially and racially insensitive.

                                                   5 However, on that day through Rabinowitz's gossip Twitter handle, Here for the Tea,

                                                   6 in response to Trendmood blocking her from commenting on Trendmood's

                                                   7 Instagram account, she accused Shab of being a racist because a Halloween costume

                                                   8 she wore the year prior. This immediately created a crescendo of negative

                                                   9 commentary by Twitter and Instagram users that were Trendmood followers, and on
                                                  10 Reddit. The result was that Trendmood lost followers on both Twitter and

                                                  11 Instagram and saw a temporary decline in revenue.
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                                                  12             25.       Feeling like Rabinowitz's behavior had crossed a line, Trendmood on
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                                                  13 August 19, 2020 had its counsel draft and send Rabinowitz a cease-and-desist letter
                        (888) 846-8901




                                                  14 in hopes that Rabinowitz's vitriol would subside. This at least temporarily stopped

                                                  15 Rabinowitz from any further inflammatory commentary.

                                                  16             26.       In early November 2020, while in an online diatribe with another social
                                                  17 media influencer, Rabinowitz intentionally involved Trendmood in the dispute. As

                                                  18 her criticism escalated, assumedly to gain sympathy among followers and/or some

                                                  19 advantage in the public dispute, Rabinowitz published the cease-and-desist letter

                                                  20 that had been sent to her on August 19, 2020.

                                                  21             27.       On November 12, 2020, Rabinowitz went even further when she
                                                  22 published the false statement that Trendmood had released her personal information

                                                  23 to the other social media influencer in an attempted doxxing campaign against her.

                                                  24 Specifically, Rabinowitz falsely published that "Trendmood, who is giving out my

                                                  25 personal information 2, i (sic) have receipts and you'll also be a party to the action.”

                                                  26 Please find attached as Exhibit A hereto a true and correct copy of Rabinowitz's

                                                  27

                                                  28   2
                                                           I.e., Doxing.
                                                                                                       9
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                                                   1 November 12, 2020 false statement accusing Trendmood of doxing her. This

                                                   2 statement was false because Trendmood has never released Rabinowitz's personal

                                                   3 information online i.e., doxed her.

                                                   4        28.    Doxing is considered a form of cyberstalking and where proven is a
                                                   5 crime under California Penal Code § 653.2, California's law against posting harmful

                                                   6 information on the internet. California Penal Code 653.2 is violated when a person

                                                   7 uses an electronic device (such as a computer or a cell phone) to send, publish or

                                                   8 make available personal identifying information or photos (i.e., “doxing”), or post or

                                                   9 send a harassing message about, another person if:
                                                  10               a.    It is done without that person’s consent; and
                                                  11               b.    Such personal information, image or message is likely to incite
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                                                  12 or produce unwanted physical contact, injury, or harassment of that person; and
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                                                  13               c.    Your intent is to place that person in reasonable fear for his or
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                                                  14 her safety or the safety of his or her immediate family.

                                                  15        29.    Additionally, though there is no federal law that directly that
                                                  16 criminalizes all of the conduct that may be called doxing, such as publishing

                                                  17 someone’s contact information. However, there is a federal law against stalking that

                                                  18 may apply to many doxing incidents. 18 U.S. Code § 2261A provides:

                                                  19 “Whoever—

                                                  20        (2) with the intent to kill, injure, harass, intimidate, or place under
                                                  21        surveillance with intent to kill, injure, harass, or intimidate another
                                                  22        person, uses the mail, any interactive computer service or electronic
                                                  23        communication service or electronic communication system of
                                                  24        interstate commerce, or any other facility of interstate or foreign
                                                  25        commerce to engage in a course of conduct that—
                                                  26        (A) places that person in reasonable fear of the death of or serious
                                                  27        bodily injury to a person …; or
                                                  28

                                                                                                 10
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                                                   1        (B) causes, attempts to cause, or would be reasonably expected
                                                   2        to cause substantial emotional distress to a person …
                                                   3        shall be punished as provided in section 2261(b) of this title.”
                                                   4

                                                   5        30.    As a result of Rabinowitz's false statement on Instagram, Twitter, and
                                                   6 Reddit that Trendmood had doxed her and would be party to a litigation for such

                                                   7 action i.e., a crime, the false statement gained immediate momentum as followers of

                                                   8 Trendmood voiced their displeasure for what they believed was a true statement by

                                                   9 Rabinowitz of and concerning Trendmood's alleged doxing against her. Those who
                                                  10 read the Rabinowitz's false statement knew what she meant and the seriousness of

                                                  11 the act of doxing. The parties' subscribers/customers who immediately took note
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                                                  12 and voices displeasure of the false doxing event live online and are especially aware
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                                                  13 of the damage a victim of doxing will experience. Specifically, many followers of
                        (888) 846-8901




                                                  14 Trendmood stated that they would no longer support Trendmood or buy anything it

                                                  15 advertised while many suggested that Rabinowitz file a police report because

                                                  16 Trendmood had committed a crime. Since Rabinowitz published the above-stated

                                                  17 false statement regarding Trendmood doxing her Trendmood has seen a drastic

                                                  18 decrease in its follower base and has suffered damage to its business reputation.

                                                  19                                CAUSES OF ACTION
                                                  20                                       COUNT I
                                                                          (Libel Per Se – California Civil Code § 𝟒𝟒𝟒𝟒)
                                                  21

                                                  22        31.    Trendmood realleges and incorporates by reference the allegations
                                                  23 contained in paragraphs 1 through 30 as if fully set forth herein.

                                                  24        32.    “Libel is a false and unprivileged publication by writing, printing,
                                                  25 picture, effigy, or other fixed representation to the eye, which exposes any person to

                                                  26 hatred, contempt, ridicule, or obloquy, or which causes him to be shunned or

                                                  27 avoided, or which has a tendency to injure him in his occupation.” Cal. Civ. Code §

                                                  28 45. “A libel which is defamatory of the plaintiff without the necessity of

                                                                                                11
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                                                   1 explanatory matter, such as an inducement, innuendo or other extrinsic fact, is said

                                                   2 to be a libel on its face [i.e., libel per se].” Cal. Civ. Code §§ 45a, 46, Smith v.

                                                   3 Maldonado, 72 Cal.App. 4th 637, 645 (1999).

                                                   4        33.    Rabinowitz made and published the defamatory statements as
                                                   5 specifically described herein and above which among other things falsely accused

                                                   6 Trendmood of engaging in a doxing campaign against her and violating multiple

                                                   7 sections of the California Penal Code and potentially federal law including those

                                                   8 expressly referred to above.

                                                   9        34.    Defendant used at least Instagram, including on and in each of her own
                                                  10 Instagram subscriptions, accounts, identities, and handles, to write, and thereby

                                                  11 publish, the defamatory statements described above, attached hereto and
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                                                  12 incorporated by reference herein, which included, that (1) Trendmood released
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                                                  13 Rabinowitz's personal information online in an attempted doxing campaign; (2)
                        (888) 846-8901




                                                  14 Trendmood did so in a manner that would be considered a violation of the California

                                                  15 Penal Code; and/or (3) Rabinowitz had proof of the same and that its intent was to

                                                  16 use fear, threat and intimidation to silence her.

                                                  17        35.    Trendmood is informed and believes, and based thereon alleges,
                                                  18 Rabinowitz did use other social media websites such as Twitter and Reddit to write,

                                                  19 and thereby publish, the defamatory statements described above, attached hereto,

                                                  20 and incorporated by reference herein.

                                                  21        36.    Prior to publishing the defamatory statements, Rabinowitz was fully
                                                  22 aware that Instagram and the other social media websites used to publish her

                                                  23 defamatory statements described above, attached hereto, and incorporated by

                                                  24 reference herein had members and subscribers located worldwide, including in

                                                  25 California, and were connected to the health, beauty, and cosmetic industries, many

                                                  26 of which were Trendmood's followers, because Rabinowitz was a user, subscriber

                                                  27 and account holder of Instagram and had Instagram handles and thus understood

                                                  28 how Instagram and social media websites worked.

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1        37.    Prior to publishing her defamatory statements, Rabinowitz was fully
                                                   2 aware that Instagram had a membership of approximately in excess of three hundred

                                                   3 million persons and that by publishing the defamatory statements, the defamatory

                                                   4 statements would be read by hundreds to thousands of Instagram's membership,

                                                   5 including Trendmood's followers, because Rabinowitz was a user, subscriber and

                                                   6 account holder of Instagram and had Instagram handles and thus understood how

                                                   7 Instagram and other social media websites worked.

                                                   8        38.    Prior to publishing her defamatory statements, Rabinowitz was fully
                                                   9 aware that publishing the defamatory statements described above and incorporated
                                                  10 by reference herein would reach the eyes and ears of at least hundreds to thousands

                                                  11 of persons, and that after she did publish the defamatory statements described above
                 Solana Beach, California 92075
                 380 Stevens Avenue, Suite 311




                                                  12 and incorporated by reference herein that the published defamatory statements did
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                                                  13 reach the eyes and ears of at least hundreds to thousands of persons, because
                        (888) 846-8901




                                                  14 Rabinowitz was a user, subscriber and account holder of Instagram and had

                                                  15 Instagram handles and thus understood how Instagram and other social media

                                                  16 websites worked.

                                                  17        39.    Rabinowitz published the defamatory statements described above and
                                                  18 incorporated by reference herein fully aware that Trendmood resided in Los

                                                  19 Angeles, California and that Trendmood was a social media influencer formed and

                                                  20 operating in the state of California.

                                                  21        40.    Rabinowitz was also fully aware that her defamatory statements
                                                  22 described above and incorporated by reference herein would cause a negative effect

                                                  23 on Trendmood as a social influencer, i.e., Rabinowitz acted with malicious intent

                                                  24 that the defamatory statements would prevent or diminish Trendmood's operation as

                                                  25 a social media influencer. Specifically, Rabinowitz, although knowing she had no

                                                  26 cause to believe the alleged defamatory statements to be true, published it with

                                                  27 intent to injure, disgrace, and defame Trendmood (and likely Shab) and with wanton

                                                  28 disregard for the truth or falsity of her statements. In addition, Rabinowitz was fully

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                                                   1 aware that because of the defamatory statements, Trendmood's reputation would be

                                                   2 damaged in the community in California and the virtual community located in the

                                                   3 worldwide web that were related to Trendmood's status as a social media influencer

                                                   4 in the health, beauty and cosmetics industries.

                                                   5        41.    It was, is, and has always been, untrue, and false, that Trendmood (1)
                                                   6 intentionally released Rabinowitz's personal information online in an attempted

                                                   7 doxing campaign; and/or (2) did so in a manner that would be considered a violation

                                                   8 of the California Penal Code; and/or (3) Rabinowitz had proof of the same and that

                                                   9 the intent was to use fear, threat, and intimidation to silence her.
                                                  10        42.    Rabinowitz's defamatory statements were not privileged and
                                                  11 Trendmood did not consent to the publication of the defamatory statements.
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                                                  12 Trendmood, in fact, implored Rabinowitz to stop the publication of the defamatory
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                                                  13 statements. Rabinowitz responded by repeating more statements that Trendmood (1)
                        (888) 846-8901




                                                  14 intentionally released Rabinowitz's personal information online in an attempted

                                                  15 doxing campaign; and/or (2) did so in a manner that would be considered a violation

                                                  16 of the California Penal Code; and/or (3) Rabinowitz had proof of the same and that

                                                  17 the intent was to use fear, threat, and intimidation to silence her.

                                                  18        43.    Prior to publishing the defamatory statements, Rabinowitz knew and
                                                  19 otherwise was fully aware that the defamatory statements were not true.

                                                  20        44.    Prior to publishing the defamatory statements, Rabinowitz acted in
                                                  21 reckless disregard for the truth in her defamatory statements by not conducting any

                                                  22 diligence, inquiry, and investigation as to whether or not the defamatory statements

                                                  23 were true or false.

                                                  24        45.    Prior to publishing the defamatory statements, Rabinowitz failed to use
                                                  25 reasonable care to determine the truth or falsity of her defamatory statements by not

                                                  26 conducting reasonable diligence, inquiry, and investigation as to whether or not the

                                                  27 defamatory statements were true or false.

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1        46.    The hundreds to thousands of people who did read Rabinowitz's
                                                   2 defamatory statements on Instagram and other social media websites understood the

                                                   3 defamatory statements to be of and concerning Trendmood and were understood by

                                                   4 the hundreds to thousands of persons to mean that Trendmood (1) intentionally

                                                   5 released Rabinowitz's personal information online in an attempted doxing campaign;

                                                   6 and/or (2) did so in a manner that would be considered a violation of the California

                                                   7 Penal Code; and/or (3) Rabinowitz had proof of the same and that the intent was to

                                                   8 use fear, threat and intimidation to silence her.

                                                   9        47.    Because of the facts and circumstances that were known to the
                                                  10 hundreds to thousands of readers of the defamatory statements, including that

                                                  11 Trendmood was a social media influencer in California:
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                                                  12               a.    The defamatory statements tended to injure Trendmood as a
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                                                  13 social media influencer, and otherwise injure Trendmood whether or not as a social
                        (888) 846-8901




                                                  14 media influencer;

                                                  15               b.    The defamatory statements exposed Trendmood to hatred,
                                                  16 contempt, ridicule, and shame by (i) persons residing in California; (ii) persons

                                                  17 involved and interested in health, beauty and cosmetics products and media related

                                                  18 thereto; and (iii) those persons using the world-wide-web interested in Trendmood

                                                  19 and health, beauty and cosmetics products and media related thereto; and

                                                  20               c.    The defamatory statements discouraged others from associating
                                                  21 or dealing with Trendmood.

                                                  22        48.    Rabinowitz knew that the listeners and readers of the defamatory
                                                  23 statements would be compelled to republish the defamatory statements to others by

                                                  24 word of mouth, electronic communication and through social media websites and

                                                  25 the persons who did hear and did read the defamatory statements did republish the

                                                  26 defamatory statements to others, because Rabinowitz was a user, subscriber and

                                                  27 account holder of Instagram and had Instagram handles and thus understood how

                                                  28 Instagram and other social media websites worked.

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1        49.    Rabinowitz's defamatory statements caused Trendmood to lose
                                                   2 employment and income.

                                                   3        50.    Rabinowitz's defamatory statements caused Trendmood's California
                                                   4 and virtual community to shun and avoid Trendmood and Shab, and further caused

                                                   5 Trendmood's California and virtual community to not like Trendmood and Shab,

                                                   6 stop following Trendmood, or otherwise end any, and all, connection, and

                                                   7 association to Trendmood.

                                                   8        51.    Trendmood's personal and professional reputation were harmed as a
                                                   9 result of Rabinowitz's defamatory statements and such reputation is continuing to be
                                                  10 harmed because Rabinowitz continues to make the same defamatory statements as

                                                  11 described and continues to permit the defamatory statements to go viral on social
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                                                  12 media websites.
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                                                  13        52.    Trendmood sustained reputational and financial harm to his businesses,
                        (888) 846-8901




                                                  14 professions, and occupations as a result of the defamatory statements.

                                                  15        53.    Trendmood was damaged as set forth below and as follows:
                                                  16 WHEREFORE Trendmood is informed and believes, and based thereon prays, that

                                                  17 this court grant relief in compensatory damages against Rabinowitz and each

                                                  18 defendant and in favor of Trendmood in the amount of $1,000.000.00, for an order

                                                  19 retracting and correcting the defamatory statements, for equitable relief based on

                                                  20 principles that are fair and just, and for judgment as also set forth below.

                                                  21 WHEREFORE, Plaintiff prays for judgment as further set forth below.

                                                  22                                       COUNT II
                                                                                   (Libel Against Defendant)
                                                  23

                                                  24        54.    Trendmood realleges and incorporates by reference the allegations
                                                  25 contained in paragraphs 1 through 53 as if fully set forth herein.

                                                  26        55.    “Defamatory language not libelous on its face is not actionable unless
                                                  27 the plaintiff alleges and proves that he has suffered special damage as a proximate

                                                  28 result thereof.” Cal. Civ. Code § 45a (emphasis added). “ ‘Special damages' are all

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1 damages which plaintiff alleges and proves that he has suffered in respect to his

                                                   2 property, business, trade, profession or occupation, including such amounts of

                                                   3 money as the plaintiff alleges and proves he has expended as a result of the

                                                   4 alleged libel, and no other.” Cal. Civ. Code § 48a.4.(b).

                                                   5        56.    Rabinowitz made and published the defamatory statements as
                                                   6 specifically described herein and above which among other things falsely accused

                                                   7 Trendmood of engaging in a doxing campaign against her and violating multiple

                                                   8 sections of the California Penal Code and potentially federal law including those

                                                   9 expressly referred to above.
                                                  10        57.    Rabinowitz used at least Instagram, including on and in each of her
                                                  11 own Instagram subscriptions, accounts, identities, and handles, to write, and thereby
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                                                  12 publish, the defamatory statements described above and incorporated by reference
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                                                  13 herein, which included, that Trendmood (1) intentionally released Rabinowitz's
                        (888) 846-8901




                                                  14 personal information online in an attempted doxing campaign; and/or (2) did so in a

                                                  15 manner that would be considered a violation of the California Penal Code; and/or

                                                  16 (3) Rabinowitz had proof of the same and that the intent was to use fear, threat and

                                                  17 intimidation to silence her.

                                                  18        58.    Trendmood is informed and believes, and based thereon alleges, that
                                                  19 Rabinowitz did use other social media websites such as Twitter and Reddit to write,

                                                  20 and thereby publish, the defamatory statements described above and incorporated by

                                                  21 reference herein.

                                                  22        59.    Prior to publishing the defamatory statements, Rabinowitz was fully
                                                  23 aware that Instagram and the other social media websites used to publish her

                                                  24 defamatory statements described above and incorporated by reference herein had

                                                  25 members and subscribers located worldwide and were connected to the health,

                                                  26 beauty and cosmetic industries, many of which were Trendmood's followers,

                                                  27 because Rabinowitz was a user, subscriber and account holder of Instagram and had

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                                                   1 Instagram handles and thus understood how Instagram and social media websites

                                                   2 worked.

                                                   3        60.    Prior to publishing her defamatory statements, Rabinowitz was fully
                                                   4 aware that Instagram had a membership of approximately in excess of three hundred

                                                   5 million persons and that by publishing the defamatory statements, the defamatory

                                                   6 statements would be read by hundreds to thousands of Instagram's membership,

                                                   7 including Trendmood's followers, because Rabinowitz was a user, subscriber and

                                                   8 account holder of Instagram and had Instagram handles and thus understood how

                                                   9 Instagram and other social media websites worked.
                                                  10        61.    Prior to publishing her defamatory statements, Rabinowitz was fully
                                                  11 aware that publishing the defamatory statements described above and incorporated
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                                                  12 by reference herein would reach the eyes and ears of at least hundreds to thousands
GLOBAL LEGAL LAW FIRM




                                                  13 of persons, and that after she did publish the defamatory statements described above
                        (888) 846-8901




                                                  14 and incorporated by reference herein that the published defamatory statements did

                                                  15 reach the eyes and ears of at least hundreds to thousands of persons, because

                                                  16 Rabinowitz was a user, subscriber and account holder of Instagram and had

                                                  17 Instagram handles and thus understood how Instagram and other social media

                                                  18 websites worked.

                                                  19        62.    Rabinowitz published the defamatory statements described above and
                                                  20 incorporated by reference herein fully aware that Trendmood resided in Los

                                                  21 Angeles, California and that Trendmood was a social media influencer formed and

                                                  22 operating in the state of California.

                                                  23        63.    Rabinowitz was also fully aware that her defamatory statements
                                                  24 described above and incorporated by reference herein would cause a negative effect

                                                  25 on Trendmood as a social influencer, i.e., Rabinowitz acted with malicious intent

                                                  26 that the defamatory statements would prevent or diminish Trendmood's operation as

                                                  27 a social media influencer. Specifically, Rabinowitz, although knowing she had no

                                                  28 cause to believe the alleged defamatory statements to be true, published it with

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1 intent to injure, disgrace, and defame Trendmood (and likely Shab) and with wanton

                                                   2 disregard for the truth or falsity of her statements. In addition, Rabinowitz was fully

                                                   3 aware that because of the defamatory statements, Trendmood's reputation would be

                                                   4 damaged in the community in California and the virtual community located in the

                                                   5 worldwide web that were related to Trendmood's status as a social media influencer

                                                   6 in the health, beauty, and cosmetics industries.

                                                   7        64.    It was, is, and has always been, untrue, and false, that Trendmood (1)
                                                   8 intentionally released Rabinowitz's personal information online in an attempted

                                                   9 doxing campaign; and/or (2) did so in a manner that would be considered a violation
                                                  10 of the California Penal Code; and/or (3) Rabinowitz had proof of the same and that

                                                  11 the intent was to use fear, threat, and intimidation to silence her.
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                                                  12        65.    Defendant's defamatory statements were not privileged and Trendmood
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                                                  13 did not consent to the publication of the defamatory statements. Trendmood, in fact,
                        (888) 846-8901




                                                  14 implored Rabinowitz to stop the publication of the defamatory statements.

                                                  15 Rabinowitz responded by repeating more statements that Trendmood (1)

                                                  16 intentionally released Rabinowitz's personal information online in an attempted

                                                  17 doxing campaign; and/or (2) did so in a manner that would be considered a violation

                                                  18 of the California Penal Code; and/or (3) Rabinowitz had proof of the same and that

                                                  19 the intent was to use fear, threat, and intimidation to silence her.

                                                  20        66.    Prior to publishing the defamatory statements, Rabinowitz knew and
                                                  21 otherwise was fully aware that the defamatory statements were not true.

                                                  22        67.    Prior to publishing the defamatory statements, Rabinowitz acted in
                                                  23 reckless disregard for the truth in her defamatory statements by not conducting any

                                                  24 diligence, inquiry, and investigation as to whether or not the defamatory statements

                                                  25 were true or false.

                                                  26        68.    Prior to publishing the defamatory statements, Rabinowitz failed to use
                                                  27 reasonable care to determine the truth or falsity of her defamatory statements by not

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1 conducting reasonable diligence, inquiry, and investigation as to whether or not the

                                                   2 defamatory statements were true or false.

                                                   3        69.    The hundreds to thousands of person who did read Rabinowitz's
                                                   4 defamatory statements on Instagram and other social media websites understood the

                                                   5 defamatory statements to be of and concerning Trendmood and were understood by

                                                   6 the hundreds to thousands of persons to mean that Trendmood (1) intentionally

                                                   7 released Rabinowitz's personal information online in an attempted doxing campaign;

                                                   8 and/or (2) did so in a manner that would be considered a violation of the California

                                                   9 Penal Code; and/or (3) Rabinowitz had proof of the same and that the intent was to
                                                  10 use fear, threat and intimidation to silence her.

                                                  11        70.    Because of the facts and circumstances that were known to the
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                                                  12 hundreds to thousands of readers of the defamatory statements, including that
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                                                  13 Trendmood was a social media influencer in California:
                        (888) 846-8901




                                                  14               a.     The defamatory statements tended to injure Trendmood as a
                                                  15 social media influencer, and otherwise injure Trendmood whether or not as a social

                                                  16 media influencer;

                                                  17               b.     The defamatory statements exposed Trendmood to hatred,
                                                  18 contempt, ridicule, and shame by (i) persons residing in California; (ii) persons

                                                  19 involved and interested in health, beauty, and cosmetics products and media related

                                                  20 thereto; and (iii) those persons using the world-wide-web interested in Trendmood

                                                  21 and health, beauty and cosmetics products and media related thereto; and

                                                  22               c.     The defamatory statements discouraged others from associating
                                                  23 or dealing with Trendmood.

                                                  24        71.    Rabinowitz knew that the listeners and readers of the defamatory
                                                  25 statements would be compelled to republish the defamatory statements to others by

                                                  26 word of mouth, electronic communication and through social media websites and

                                                  27 the persons who did hear and did read the defamatory statements did republish the

                                                  28 defamatory statements to others, because Rabinowitz was a user, subscriber and

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1 account holder of Instagram and had Instagram handles and thus understood how

                                                   2 Instagram and other social media websites worked.

                                                   3         72.    Rabinowitz's defamatory statements caused Trendmood to lose
                                                   4 employment and income.

                                                   5         73.    Rabinowitz's defamatory statements caused Trendmood's California
                                                   6 and virtual community to shun and avoid Trendmood and Shab, and further caused

                                                   7 Trendmood's California and virtual community to not like Trendmood and Shab,

                                                   8 stop following Trendmood, or otherwise end any, and all, connection and

                                                   9 association to Trendmood.
                                                  10         74.    Trendmood's personal and professional reputation were harmed as a
                                                  11 result of Rabinowitz's defamatory statements and such reputation is continuing to be
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                 380 Stevens Avenue, Suite 311




                                                  12 harmed because Rabinowitz continues to make the same defamatory statements as
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                                                  13 described and continues to permit the defamatory statements to go viral on social
                        (888) 846-8901




                                                  14 media websites.

                                                  15         75.    Trendmood sustained reputational and financial harm to his businesses,
                                                  16 professions, and occupations as a result of the defamatory statements.

                                                  17         76.    Trendmood was damaged as set forth below and as follows:
                                                  18 WHEREFORE Trendmood is informed and believes, and based thereon prays, that

                                                  19 this court grant relief in compensatory damages against Rabinowitz and each

                                                  20 defendant and in favor of Trendmood in the amount of $1,000.000.00, for an order

                                                  21 retracting and correcting the defamatory statements, for equitable relief based on

                                                  22 principles that are fair and just, and for judgment as also set forth below.

                                                  23 WHEREFORE, Plaintiff prays for judgment as further set forth below.

                                                  24                                       COUNT III
                                                                              (Injunctive Relief Against Defendant)
                                                  25

                                                  26
                                                             77.    Trendmood realleges and incorporates by reference the allegations
                                                  27
                                                       contained in paragraphs 1 through 76 as if fully set forth herein.
                                                  28

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                                                             FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1         78.   Rabinowitz has caused irreparable harm to Trendmood's businesses, in
                                                   2 reputation, in income, in the goodwill in the business that no amount of damages

                                                   3 could adequately compensate Trendmood for injuries it sustained, is sustaining and

                                                   4 will sustain, because Rabinowitz's defamatory statements continue to be posted on

                                                   5 internet websites such as Instagram and Twitter, and Rabinowitz continues to assert

                                                   6 that the statements are true thereby destroying Trendmood's reputation and business

                                                   7 in an ongoing and continuous manner.

                                                   8         79.   Rabinowitz continues to publish the defamatory statements on social
                                                   9 media making it impossible for Trendmood to operate as a social media influencer
                                                  10 in the same capacity as it did prior to the defamatory statements and thus limiting

                                                  11 Trendmood's income, making the harm ongoing.
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                                                  12         80.   Rabinowitz's conduct is a substantial factor in Trendmood's ongoing
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                                                  13 harm.
                        (888) 846-8901




                                                  14         81.   Trendmood prays this court for an order enjoining Rabinowitz from
                                                  15 making and publishing any, and all, defamatory statements that Trendmood (1)

                                                  16 intentionally released Rabinowitz's personal information online in an attempted

                                                  17 doxing campaign; and/or (2) did so in a manner that would be considered a violation

                                                  18 of the California Penal Code; and/or (3) Rabinowitz had proof of the same and that

                                                  19 the intent was to use fear, threat and intimidation to silence her.

                                                  20         82.   Plaintiff prays this court for an injunction ordering to retract the
                                                  21 defamatory statements and to take the defamatory statements down from the

                                                  22 websites in which the statements were made and published; specifically Rabinowitz

                                                  23 should retract and take down any, and all, defamatory statements she made and

                                                  24 published that Trendmood (1) intentionally released Rabinowitz's personal

                                                  25 information online in an attempted doxing campaign; and/or (2) did so in a manner

                                                  26 that would be considered a violation of the California Penal Code; and/or (3)

                                                  27 Rabinowitz had proof of the same and that the intent was to use fear, threat and

                                                  28 intimidation to silence her; and any iteration of such statements.

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                                                   1        WHEREFORE Plaintiff, Trendmood, prays for judgment against Rabinowitz
                                                   2 as follows:

                                                   3        1.     Award Trendmood $1,000,0000 against Rabinowitz in non-economic
                                                   4 damages;

                                                   5        2.     Order an injunction permanently restraining and enjoining Rabinowitz
                                                   6 as set forth in Claim III including:

                                                   7               a.      Preventing Rabinowitz from making and publishing the
                                                   8 defamatory statements or any iteration of the defamatory statements as set forth

                                                   9 above and herein;
                                                  10               b.      Ordering Rabinowitz to retract the defamatory statements as set
                                                  11 forth above and herein; and
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                                                  12               c.      Ordering Rabinowitz to direct any, and all, websites that
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                                                  13 Rabinowitz posted the defamatory statements as set forth above and herein, to delete
                        (888) 846-8901




                                                  14 the defamatory statements;

                                                  15        3.     For Trendmood's actual damages, together with prejudgment interest,
                                                  16 according to proof;

                                                  17        4.     That Trendmood be awarded its costs and expenses incurred herein,
                                                  18 including reasonable attorney's fees to the fullest extent authorized by law;

                                                  19        5.     Awarding Trendmood such additional and further relief as the Court
                                                  20 deems just and proper.

                                                  21

                                                  22 Dated: May 10, 2021                          GLOBAL LEGAL LAW FIRM
                                                  23
                                                                                            By:
                                                  24                                              /s/ Christopher R. Dryden
                                                                                                  Christopher R. Dryden, Esq.
                                                  25                                              Attorneys for Plaintiff Trendmood, Inc.
                                                  26

                                                  27

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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                   1                            DEMAND FOR JURY TRIAL
                                                   2        Plaintiff, TRENDMOOD, INC., hereby, by and through its counsel of record,
                                                   3 requests and demands that the case and matters therein be tried in front of a jury.

                                                   4

                                                   5 Dated: May 10, 2021                         GLOBAL LEGAL LAW FIRM
                                                   6
                                                                                           By:
                                                   7                                             /s/ Christopher R. Dryden
                                                                                                 Christopher R. Dryden, Esq.
                                                   8                                             Attorneys for Plaintiff Trendmood, Inc.
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                                                            FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
